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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL J S 6

 

 

 

Case No. SACV 21-01313-JLS (KESx) Date October 6, 2021
Title Amina Yazdanie et al v. Specialized Loan Servicing LLC et al
PRESENT:

HONORABLE JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

Melissa Kunig Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:

Not Present Not Present

PROCEEDINGS: (INCHAMBERS) ORDER REMANDING CASE TO ORANGE COUNTY
SUPERIOR COURT

The Court has reviewed the responses of the parties to the Order to Show Cause Why
This Action Should Not be Remanded to State Court (see Docs. 13, 19, 20). The Defendant
has failed sufficiently to show that its removal was timely. Accordingly, this action is
REMANDED to Orange County Superior Court, case number 30-2021-01203763-CU-OR-CJC.

 

Initials of Deputy Clerk mku

 

cc:

 

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